Case 2:19-cv-01130-RSL Document 96-15 Filed 03/04/21 Page 1 of 11




                EXHIBIT 15
Case 2:19-cv-01130-RSL Document 96-15 Filed 03/04/21 Page 2 of 11
Case 2:19-cv-01130-RSL Document 96-15 Filed 03/04/21 Page 3 of 11
Case 2:19-cv-01130-RSL Document 96-15 Filed 03/04/21 Page 4 of 11
Case 2:19-cv-01130-RSL Document 96-15 Filed 03/04/21 Page 5 of 11
Case 2:19-cv-01130-RSL Document 96-15 Filed 03/04/21 Page 6 of 11
Case 2:19-cv-01130-RSL Document 96-15 Filed 03/04/21 Page 7 of 11
Case 2:19-cv-01130-RSL Document 96-15 Filed 03/04/21 Page 8 of 11
Case 2:19-cv-01130-RSL Document 96-15 Filed 03/04/21 Page 9 of 11
Case 2:19-cv-01130-RSL Document 96-15 Filed 03/04/21 Page 10 of 11
Case 2:19-cv-01130-RSL Document 96-15 Filed 03/04/21 Page 11 of 11
